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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

TORRENCE CALDWELL,                            )
                                              )
                     Plaintiff,               )
                                              )
             v.                               )    No. 08 C 3067
                                              )
CITY OF CHICAGO, et al.,                      )
                                              )
                     Defendants.              )


                            MEMORANDUM OPINION

SAMUEL DER-YEGHIAYAN, District Judge

      This matter is before the court on the Plaintiff Torrence Caldwell’s (Caldwell)

and Defendants’ motions in limine. For the reasons stated below, we grant in part

and deny in part the motions.



                                   DISCUSSION



I. Caldwell’s Motion in limine

      Caldwell requests that the court bar evidence regarding his criminal history,

including six prior arrests. Caldwell argues that such evidence would be overly

prejudicial, would be used to insinuate he has a bad character, and would be

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inadmissible under Federal Rules of Evidence 403 (Rule 403) and 404(b) (Rule

404(b)). Rule 403 provides that “[a]lthough relevant, evidence may be excluded if

its probative value is substantially outweighed by the danger of unfair prejudice,

confusion of the issues, or misleading the jury, or by considerations of undue delay,

waste of time, or needless presentation of cumulative evidence.” Fed. R. Evid. 403.

Rule 404(b) provides that “[e]vidence of other crimes, wrongs, or acts is not

admissible to prove the character of a person in order to show action in conformity

therewith,” but such evidence “may, however, be admissible for other purposes, such

as proof of motive, opportunity, intent, preparation, plan, knowledge, identity, or

absence of mistake or accident. . . .” Fed. R. Evid. 404(b). In determining whether

to admit Rule 404(b) evidence, a court must consider whether “(1) the evidence is

directed toward establishing a matter in issue other than the defendant’s propensity to

commit the crime charged; (2) the evidence shows that the other act is similar enough

and close enough in time to be relevant to the matter in issue; (3) the evidence is

sufficient to support a jury finding that the defendant committed the similar act; and

(4) the evidence has probative value that is not substantially outweighed by the

danger of unfair prejudice.” United States v. Diekhoff, 535 F.3d 611, 617 (7th Cir.

2008)(quoting United States v. Simpson, 479 F.3d 492, 498 (7th Cir. 2007)).

      Defendants argue that evidence of Caldwell’s prior arrests is admissible to



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rebut Caldwell’s claims seeking damages for emotional distress. Defendants contend

that the fact that Caldwell has been arrested by law enforcement on prior occasions is

relevant to his assertions as to the distress he suffered from the arrest at issue in the

instant action and that such evidence is not overly prejudicial. Defendants also

contend that Caldwell’s prior arrests are admissible under Rule 404(b) since they

relate to his credibility, intent, and motive. In addition, Defendants argue that such

arrests undermine Caldwell’s credibility as to the emotional distress he claims to

have suffered and that such prior arrests show a bias that gives Caldwell a reason to

sue innocent officers.

       The prejudice resulting from the introduction of evidence of Caldwell’s prior

arrests outweighs the limited relevance such evidence would have in this case. As

Caldwell points out, he alleges in this case to have been seized by police at night and

placed in handcuffs in the back of an unmarked police car. Caldwell contends that

the officers sped through traffic lights past the area where the police station was

located and when Caldwell asked what he did wrong and where they were taking

him, he was punched in the face and head. Caldwell contends that during the ride he

actually asked to be taken to jail. Caldwell further contends that the officer

eventually dropped him off in an alley in a high crime area, took the batteries from

his cell phone and told him to start walking and to not look back. Defendants have



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not shown that any of Caldwell’s prior arrests involved even remotely similar facts

and Caldwell contends that none of his prior arrests involved excessive force or

similar circumstances. (P Reply 2). Caldwell is not alleging in this case that he

suffered emotional distress from a routine arrest and transportation to the police

department. See, e.g., Moore v. City of Chicago, 2008 WL 4549137, at *1 (N.D. Ill.

2008)(stating that “to be relevant, the arrests must be substantially similar and the

court must conduct a prejudice analysis”). Defendants have not shown that the

probative value of the evidence of Caldwell’s prior arrests would outweigh any

prejudice.

      In regard to Defendants’ argument that evidence of the prior arrests can be

introduced to show a bias against police and a motive to falsely accuse officers of

wrongdoing, Defendants have not offered any specific details regarding Caldwell’s

prior arrests that would show any particular bias against police. Based on such an

argument, the entire criminal arrest record of any plaintiff that ever brings suit

against a police officer would be admissible to show a potential bias.

      Caldwell also contends that none of the six prior arrests led to a conviction and

thus he has no prior felony convictions that could be admissible for impeachment

under Federal Rule of Evidence 609 (Rule 609). Rule 609(a) provides

that “evidence that any witness has been convicted of a crime” shall be admitted in



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certain instances for impeachment purposes. Fed. R. Evid. 609(a). Defendants

contend that they “may properly pursue testimonial evidence regarding the prior

arrests as it would be relevant for impeachment.” (Ans. P Mot. 3). However, as

indicated above, Rule 609 allows for the admission of evidence of convictions for

impeachment, not arrests. Caldwell contends that he has no criminal convictions,

which Defendants have not contested, and Defendants have failed to provide any

justification for admitting any evidence of Caldwell’s prior criminal history under

Rule 609 for impeachment purposes. Therefore, we grant Caldwell’s motion to bar

evidence of his prior criminal history. However, if at trial Caldwell opens the door

by introducing evidence that tends to show that he has no criminal history, then

Defendants can renew their motion to introduce evidence of his prior arrests, but in

such a case, such evidence will be limited to the introduction of the number of arrests

as opposed to details of the arrests.



II. Defendants’ Motions in Limine



      A. Unopposed Motions (Mot. In Lim. 1, 8, 9, 10)

      Defendants request in Defendants’ motion in limine number 1 that the court

exclude all witnesses, other than the parties, from the courtroom during the opening



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statements and testimony of any and all other witnesses. Defendants request in

Defendants’ motion in limine number 8 that the court bar evidence concerning

civilian complaints, witnesses, lawsuits, or other disciplinary proceedings in the past

or pending against Defendants. Defendants request in Defendants’ motion in limine

number 9 that the court bar Caldwell’s counsel from creating adverse trial publicity

against Defendants by speaking to the media. Defendants request in Defendants’

motion in limine number 10 that the court bar Caldwell from introducing evidence of

his good character. Caldwell does not oppose Defendants’ motions in limine 1, 8, 9,

or 10, (Ans. D Mot. 1, 8-10), and we grant the motions.



      B. Send a Message Arguments (Mot. In Lim. 2)

      Defendants request in Defendants’ motion in limine number 2 that the court

bar Caldwell from arguing that the jury should punish, admonish, warn, discourage,

or send a message to the City. Defendants argue that such an argument would

suggest to the jury that it award punitive or exemplary damages against the City.

Defendants contend that since Caldwell cannot recover punitive or exemplary

damages from the City pursuant to 745 ILCS 10/2-102, such an argument would be

improper. We agree that such an argument would be inappropriate. Therefore, we

grant Defendants’ motion in limine number 2.



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      C. Unrelated Police Misconduct (Mot In Lim. 3)

      Defendants request in Defendants’ motion in limine number 3 that the court

bar Caldwell from referring to other police misconduct, criminal investigations, or

publicized scandals not connected to the allegations in this case. Caldwell contends

that Defendants’ motion is premature and that other misconduct may turn out to be

relevant. Caldwell has not shown, however, why other police misconduct would be

relevant in this case and why it would not be overly prejudicial. Therefore, we grant

Defendants’ motion in limine number 3.



      D. Commenting on Missing Evidence (Mot. In Lim. 4)

      Defendants request in Defendants’ motion in limine number 4 that the court

bar Caldwell from conveying to the jury that Defendants are hiding exculpatory

evidence by choosing not to call a particular witness or present certain evidence.

Caldwell contends that it is an accepted routine tactic to point to missing testimony

and evidence of an opponent. We agree that it would be improper for Caldwell to

insinuate without evidentiary support that Defendants are purposefully attempting to

hide evidence and it would be improper to ask the jury to speculate about the absence

of evidence. Therefore, we grant Defendants’ motion in limine number 4. We are

not barring Caldwell from arguing that there are deficiencies in Defendants’ case due



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to the absence of testimony by certain individuals or the absence of certain evidence.

We are merely ruling that it would be improper for Caldwell to insinuate that

Defendants are purposefully hiding evidence or to imply that Defendants bear the

burden of proof. The court will instruct the jury as to Caldwell’s burden of proof.



      E. Code of Silence (Mot In Lim. 5)

      Defendants request in Defendants’ motion in limine number 5 that Caldwell be

barred from presenting evidence showing that police generally protect or cover up

for each other and that there is a code of silence in the City Police Department.

Caldwell has not pointed to sufficient evidence to show that there is a code of silence

or to justify the introduction of such inflammatory evidence at trial. In addition,

Caldwell has not shown that the probative value of evidence of a general code of

silence in the police department would outweigh the prejudice to Defendants.

However, Caldwell may present evidence, if any, of officer cover-up of the incident

in question in this case. Therefore, we grant Defendants’ motion in limine number 5.



      F. Department Rules, Policies, Regulations, or Orders (Mot. In Lim. 6)

      Defendants request in Defendants’ motion in limine number 6 that the court

bar Caldwell from referencing any violation of City Police Department Rules,



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Policies, Regulations or General Orders. Defendants argue that to the extent that

there are any such violations, it would not prove any wrongful conduct by Parker.

While such violations may not prove in and of themselves wrongful conduct or

constitutional deprivations, it is possible that they could be relevant and admissible at

trial. It would be premature to bar all such evidence in advance of trial. Therefore,

we deny Defendants’ motion in limine number 6 without prejudice.



      G. Expert Testimony by Dr. Thomas Widell (Mot. In Lim. 7)

      Defendants request in Defendants’ motion in limine number 7 that the court

bar Caldwell from presenting any undisclosed opinions, diagnosis, or testimony

concerning causation by any medical expert or Dr. Thomas Widell, Caldwell’s

treating physician. Defendants contend that Caldwell never disclosed any medical

expert witness. See Musser v. Gentiva Health Services, 356 F.3d 751, 757 (7th Cir.

2004)(stating that “a treating doctor (or similarly situated witness) is providing

expert testimony if the testimony consists of opinions based on ‘scientific, technical,

or other specialized knowledge’ regardless of whether those opinions were formed

during the scope of interaction with a party prior to litigation”). We grant

Defendants’ motion in limine number 7. Although Widell can testify as to his

personal observations, diagnoses, and treatment concerning Caldwell, Widell cannot



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testify concerning opinions that he has subsequently formed or testify concerning any

causation issues.



      H. Testimony as to Emotional or Medical Conditions (Mot. In Lim. 11)

      Defendants request in Defendants’ motion in limine number 11 that the court

bar witnesses without medical training from testifying about any emotional or

medical diagnoses, conditions, or future prognoses. Caldwell can offer testimony

concerning personal observations of his injuries, but he cannot offer opinions or

conclusions that would entail expert medical testimony. Therefore, we grant

Defendants’ motion in limine number 11.



                                  CONCLUSION

      Based on the foregoing analysis, we grant Caldwell’s motion in limine. We

also grant Defendants’ motions in limine 1-5, and 7-11. We deny without prejudice

Defendants’ motion in limine 6.



                                       ___________________________________
                                       Samuel Der-Yeghiayan
                                       United States District Court Judge


Dated: January 28, 2010


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